Case 1:11-cv-00538-DKW-BMK Document 54 Filed 08/01/12 Page 1 of 3   PageID.670




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Case 1:11-cv-00538-DKW-BMK Document 54 Filed 08/01/12 Page 2 of 3      PageID.671




                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I
 LIANE WILSON and JOANNA                     Case No. CV 11-00538 LEK BMK
 WHEELER, on behalf of themselves
 and other females similarly situated,
                                             CERTIFICATE OF SERVICE
             Plaintiffs,
       vs.                                   [RE: DEFENDANT WYNDHAM
                                             VACATION OWNERSHIP INC.’S
 WYNDHAM WORLDWIDE                           FIRST SET OF INTERROGATORIES
 CORPORATION; WYNDHAM                        TO PLAINTIFF JOANNA
 VACATION OWNERSHIP, INC.;                   WHEELER]
 WYNDHAM VACATION RESORTS,
 INC.; MICHAEL JONAH; MARK
 POLLARD; TOM VIRAG; DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,
             Defendants.

                            CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this date I caused the original and a true

 and correct copy of the DEFENDANT WYNDHAM VACATION OWNERSHIP,

 INC.’S FIRST SET OF INTERROGATORIES TO PLAINTIFF JOANNA

 WHEELER to be served on the following persons, by the following means to their

 last known address:

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Case 1:11-cv-00538-DKW-BMK Document 54 Filed 08/01/12 Page 3 of 3       PageID.672




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                        DATED: August 1, 2012

                                              /s/ Richard S. Cohen
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                                            INC., MICHAEL JONAH and
                                            TOM VIRAG


 4835-1440-6672, v. 1




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